Case 2:04-CV-03054-BBD-tmp Document 15 Filed 08/25/05 Page 1 of 4 Page|D 18
muee:::???f§?§

05 AUG 25 PH h= 05

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

H ";j_;;“.;
:,LEF;:<. E,_ __ __ z comm
W,.~n '.e..:;+~;ls

  

ANDRE BOUSQUET
Plaintiff,

vs. Civil Action No.O4cv3054-D/P

AUTONATIONS USA, InC., et al,

Defendant.

‘-._¢'-_.z-_r-.r-._'-_z\.»~..,-._¢V'~_.»

 

RULE 16 (b) SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held

August 25c 2005. Present were Archie Sanders, counsel for

plaintiff, and Valerie Speakman and Christine Howard §via

telephone[, counsel for defendants. At the conference, the

 

'following dates were established as the final dates for:

INITIAL DIscLosUREs PURSUANT To Fed.R.Civ.P.zs (a) (1) : September 15,
2005 ‘

JOINING PARTIES: OCtOber 17, 2005
AMEN'DING PLEADINGS: OCtOber 17, 2005
INITIAL MOTIONS TO DISMISS: NOvem.ber 17, 2005

COMPLETING ALL DISCOVERY: April 3, 2006

(a) DOCU'MENT PRODUCTION: April 3, 2006

Thls document entered on the docket she n W
wlth F\u|e 58 and/or 79(3) FRCP on

Case 2:04-CV-03054-BBD-tmp Document 15 Filed 08/25/05 Page 2 of 4 Page|D 19

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 3, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: February l, 2006

(2) DISCLOSURE oF DEFENDANT'B RULE 26 EXPERT
INFoRMATIoN= March 1, 2006

(3) EXPERT WITNESS DEPOSITIONS: April 3, 2006
FILING DISPOSITIVE MOTIONS: May 3, 2006
OTHER RELEVANT MATTERS:

DEFENDANTS HAVE OBJECTED TO PROCEEDING WITH THE SCHEDULING
CONFERENCE ON THE BASIS OF DEFECTIVE SERVICE, AND HAVE FILED A
MOTION TO DISMISS.

THIS ORDER IS ENTERED WITHOUT PREJUDICE TO THE DEFENDANTS'
POSITIONS ON THESE PENDING MOTIONS.

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. The parties anticipate trial will last 3-5 days.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is

Case 2:04-CV-03054-BBD-tmp Document 15 Filed 08/25/05 Page 3 of 4 Page|D 20

necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

DATE= _Au%@_&$` _; ?)Q’>'

IT IS SO ORDERED.

 

IRIT OURT WESTER D'I'ISRCTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-03054 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Drayton D. Berkley

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

